    Case: 1:18-cv-04579 Document #: 13 Filed: 08/31/18 Page 1 of 1 PageID #:33




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


INTERNET MEDIA INTERACTIVE                        Case No.: 1:18-cv-04579
CORP.,
                                                  JURY TRIAL DEMANDED
                             Plaintiff,

       v.

THE BOEING COMPANY,

                             Defendant.




            NOTICE OF DISMISSAL OF DEFENDANT WITH PREJUDICE

       Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i), Plaintiff Internet Media Interactive Corporation

hereby dismisses all claims in this action WITH PREJUDICE as to Defendant, with each party

to bear its own costs, expenses and attorneys’ fees.


Dated: August 31, 2018
                                             Respectfully submitted,

                                             /s/Timothy J. Haller
                                             Timothy J. Haller
                                             HALLER LAW PLLC
                                             The Monadnock Building
                                             53 West Jackson Boulevard, Suite 1623
                                             Chicago, IL 60604
                                             Phone: (630) 336-4283
                                             haller@haller-iplaw.com

                                             Attorneys for Plaintiff, Internet Media
                                             Interactive Corporation
